       Case 1:19-cv-01796-PEC Document 274 Filed 07/08/21 Page 1 of 2




            In the United States Court of Federal Claims
                                      No. 19-1796C

                                  (E-filed: July 8, 2021)

_________________________________
                                   )
AMAZON WEB SERVICES, INC.,         )
                                   )
           Plaintiff,              )
                                   )
v.                                 )
                                   )
THE UNITED STATES,                 )
                                   )
           Defendant,              )
                                   )
and                                )
                                   )
MICROSOFT CORP.,                   )
                                   )
           Intervenor-defendant.   )
__________________________________ )

                                        ORDER

      On July 8, 2021, defendant filed an unopposed motion to dismiss, pursuant to Rule
12(b)(1) of the Rules of the United States Court of Federal Claims (RCFC). See ECF
No. 273. Therein, defendant requests dismissal of this matter as moot because “the
Department of Defense (DoD) has cancelled the Joint Enterprise Defense Infrastructure
(JEDI) solicitation number HQ0034-18-R-0077, and terminated the contract awarded
pursuant to thereto Intervenor-Defendant, Microsoft Corporation (Microsoft), for the
convenience of the Government.” Id. at 1.

      Accordingly, for the foregoing reasons:

      (1)     Defendant’s motion to dismiss plaintiff’s amended complaint, ECF No.
              273, is GRANTED;

      (2)     Plaintiff’s motion to complete the administrative record, ECF No. 271, is
              DENIED as moot; and
 Case 1:19-cv-01796-PEC Document 274 Filed 07/08/21 Page 2 of 2




(3)   The clerk’s office is directed to ENTER final judgment DISMISSING
      plaintiff’s amended complaint for lack of subject matter jurisdiction, in
      favor of defendant, without prejudice.

IT IS SO ORDERED.

                                  s/Patricia E. Campbell-Smith
                                  PATRICIA E. CAMPBELL-SMITH
                                  Judge




                                     2
